
345 S.W.3d 896 (2011)
In the Interest of H.R.W. and R.H.W. A.K.M. (mother), Appellant,
v.
L.M.M., Respondent.
No. WD 73381.
Missouri Court of Appeals, Western District.
August 23, 2011.
Anastacia R. Adamson, Kansas City, Michael J. Belfonte, Kansas City, MO, for appellant.
James A. Waits, Kansas City, MO, for respondent.
Before: VICTOR C. HOWARD, P.J., and ALOK AHUJA and KAREN KING MITCHELL, JJ.

ORDER
PER CURIAM:
A.K.M. appeals from a judgment terminating her parental rights to her minor sons, H.R.W. and R.H.W. The trial court terminated A.K.M.'s parental rights in an adoption action under Chapter 453, RSMo, on the grounds of neglect and A.K.M.'s failure to rectify the conditions which led to the juvenile court's initial assumption of jurisdiction over the children. A.K.M. contends that the court erred because: the grounds on which the circuit court relied to terminate her parental rights were unsupported by the evidence; the court's determination that termination was in the children's best interests was unsupported by the evidence; the court improperly adopted the proposed findings of fact and conclusions of law prepared by the Petitioner; the court erroneously failed to permit the children's great aunt and uncle to intervene; and the court failed to follow §§ 211.455.3 and 211.447.3, RSMo. We affirm. Because a published opinion would have no precedential value, an unpublished memorandum setting forth the reasons for this order has been provided to the parties. Rule 84.16(b).
